      Case 2:20-cr-00160-RMP     ECF No. 35   filed 11/18/21   PageID.222 Page 1 of 5




     Vanessa R. Waldref
 1
     United States Attorney
 2   Eastern District of Washington
     Patrick J. Cashman
 3
     Assistant United States Attorney
 4   Post Office Box 1494
     Spokane, WA 99210-1494
 5
     Telephone: (509) 353-2767
 6
 7                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WASHINGTON
 8
     UNITED STATES OF AMERICA,
 9
10                               Plaintiff,           2:20-CR-160-RMP-1
11                     vs.
12                                                    Initial Notice of Expert Witnesses
     MERCED ZAMORA,                                   and Rule 16 Expert Summaries
13
14                              Defendant.
15
16         Plaintiff, United States of America, by and through Vanessa R. Waldref, United
17 States Attorney for the Eastern District of Washington, and Patrick J. Cashman,
18 Assistant United States Attorney for the Eastern District of Washington, submits the
19 following Initial Notice of Expert Witnesses and Rule 16 Summaries. The United
20 States intends to supplement this notice upon receipt of each expert’s findings and
21 conclusions.
22                                FORENSIC CHEMISTS
23         The United States intends to offer expert testimony of Brittany C. Huntington, a
24 Drug Enforcement Administration (DEA) forensic chemist that is assigned to this
25 cause number and who conducted the forensic analysis of the substances. The United
26 States has previously provided the results of Ms. Huntington’s analysis in discovery,
27 bates numbers 10000424. The United States has requested Ms. Huntington’s
28
     Initial Notice of Expert Witnesses and Rule 16 Expert Summaries - 1
       Case 2:20-cr-00160-RMP    ECF No. 35    filed 11/18/21   PageID.223 Page 2 of 5




     curriculum vitae (“CV”) and Rule 16 Disclosure Summaries. The United States will
 1
     promptly provide the requested documents upon receipt.
 2
           The United States will seek to admit the opinion of Mr. Nguyen summarized in
 3
     the lab reports.
 4
           Drug Exhibits to Be Admitted:
 5
           - DEA Exhibit # 1B224
 6
 7         More specifically, the United States will seek to admit the witness’s expert

 8 testimony as to the chemical testing and analysis conducted on the above referenced
 9 exhibits. The expert testimony will include their opinion as to the type of controlled
10 substance present; the presence or lack of presence of any cutting agents; and the total
11 weight of each evidentiary item both in purity and mixture and substance of controlled
12 substance present. The United States will also solicit detailed testimony from the
13 forensic chemist as to the identification of methamphetamine and what type of
14 controlled substance it is and its characteristics. The witness will also testify about
15 their background and qualifications, the commonly accepted scientific methodology
16 followed in reaching their conclusions as well as the peer review completed to test the
17 accuracy of their results.
18                DRUG QUANTITY AND MODUS OPERANDI EXPERT

19         The United States expects to call a Drug Enforcement Administration (“DEA”)

20 Special Agent to testify as an expert witness regarding drug quantities and modus
21 operandi. The United States expects the witness to testify as to the differences
22 between distribution amounts and personal use amounts, the common amount of
23 methamphetamine consumed daily by a user, the use of cutting agents, how controlled
24 substances are obtained in bulk amount and cut to distribution amounts, and the
25 various price amounts on the pyramid of bulk distribution versus personal amount
26 distribution. In sum, the witness is expected to provide expert testimony regarding the
27 methods of low and mid-level drug traffickers, what roles low and mid-level drug
28 traffickers assume, and how their supply is commonly distributed and paid for. The
     Initial Notice of Expert Witnesses and Rule 16 Expert Summaries - 2
       Case 2:20-cr-00160-RMP     ECF No. 35    filed 11/18/21   PageID.224 Page 3 of 5




     United States further expects the expert to testify regarding the price range of
 1
     methamphetamine in the Eastern District of Washington during the time frame
 2
     relevant to the Indictment in Cause Number 2:20-CR-000160-RMP-1.
 3
           The United States also expects the witness to testify as to common drug
 4
     terminology and how that terminology is used in the sale and distribution of controlled
 5
     substances. The United States further expects the witness to testify to the use of
 6
 7 technology, specifically cellular phone technology, in the sale and distribution of
 8 controlled substances.
 9         The United States further expects the expert to testify as to the nexus between

10 drug trafficking and firearms.
11                                  FIREARMS EXPERTS

12         The United States previously provided the “Statement of Qualifications” of S/A

13 Mario Piergallini. See Bates 00000001.24 – 1.25. The United States expects the
14 expert to testify as an expert witness to the interstate/intrastate nexus of the following
15 firearms:
16        - Exhibit #1: Ruger, model LCP, .380 caliber semiautomatic pistol, bearing

17            serial number 370-61483, manufactured in Arizona, and 6 rounds of .380

18            ammunition with “WIN 380 Auto” marked on the head stamp, manufactured

19            in Illinois;

20         - Exhibit #5: 7 rounds of assorted .22LR caliber ammunition marked as

21            follow: (a) 4 rounds marked “Super X”, manufactured Illinois; and (b) 3

22            rounds marked “C”, manufactured in Idaho;

23         - Exhibit #8: 88 rounds of .380 ammunition with “WIN 380 AUTO” marked

24            on the head stamp, manufactured in Illinois;

25         - Exhibit #15: 6 rounds of assorted .380 ammunition marked as follows: (a) 3

26            rounds marked “HORNADY 380 AUTO,” manufactured in Nebraska; and

27            (b) 3 rounds marked “FEDERAL 380 AUTO,” manufactured in Minnesota;
28         - Exhibit #34: Marlin, model 989M2, .22LR caliber rifle with no serial

     Initial Notice of Expert Witnesses and Rule 16 Expert Summaries - 3
      Case 2:20-cr-00160-RMP     ECF No. 35    filed 11/18/21   PageID.225 Page 4 of 5




              number, manufactured in Connecticut; and
 1
           - Exhibit #35: 50 rounds of .380 ammunition with “WIN 380 AUTO” marked
 2
              on the head stamp, manufactured in Illinois.
 3
           The Defendant, is alleged to have possessed the items as outlined in the
 4
     Indictment filed on November 17, 2020. A written summary of S/A Piergallini’s
 5
     findings were previously provided in discovery. See Bates 00000001.22 – 1.23.
 6
 7 Further, the United States will seek testimony that based upon S/A Piergallini’s
 8 training and experience, it is his opinion that the firearms and ammunition listed above
 9 travelled in interstate and foreign commerce. Subsequent interstate nexus
10 examinations and related reports will be produced upon receipt.
11                  FINGERPRINT EXAMINATION AND RESULTS

12         The United States intends to offer expert testimony from a Forensic Scientist

13 with the Spokane County Sheriff’s Office, Latent Prints Section. At trial, the United
14 States intends to present the testimony and opinions of an expert as to fingerprint
15 examinations and testing he conducted in this case. The fingerprint expert will first
16 testify as to their educational background and expertise in latent print examination.
17 The expert will then provide expert testimony of their latent print examination of the
18 Defendant’s prior felony judgement and sentences and the Defendant’s current
19 booking fingerprints. Additionally, the fingerprint expert will testify as to their
20 analysis of fingerprints obtained in this case and that no comparable fingerprints were
21 obtained. See Bates 00000001.68 – 00000001.69.
22
23            Dated: November 18, 2021.

24
                                                 Vanessa R. Waldref
25                                               United States Attorney
26
27                                               s/ Patrick J. Cashman
                                                 Patrick J. Cashman
28                                               Assistant United States Attorney
     Initial Notice of Expert Witnesses and Rule 16 Expert Summaries - 4
      Case 2:20-cr-00160-RMP      ECF No. 35   filed 11/18/21   PageID.226 Page 5 of 5




                               CERTIFICATE OF SERVICE
1
2          I hereby certify that on November 18, 2021, I electronically filed the foregoing
3 with the Clerk of the Court using the CM/ECF system which will send notification of
4 such filing to the following:
5 Lorinda Youngcourt
  Federal Defenders
6
  10 North Post Street, Suite 700
7 Spokane, WA 99201
8
9
                                                  s/ Patrick J. Cashman
10                                                Patrick J. Cashman
11                                                Assistant United States Attorney

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Initial Notice of Expert Witnesses and Rule 16 Expert Summaries - 5
